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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF ARKANSAS

FAYETTEVILLE DIVISION
SARAH DUNHAM §
Plaintiff, :
V. : Civil Action No: 5:19-cv-05098-TLB
WAL-MART STORES ARKANSAS, LLC :
Defendant.

 

PLAINTIFF’S ORIGINAL COMPLAINT

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

NOW COMES Sarah Dunham (“Plaintiff”) and file this Plaintiff’s Original Complaint
and respectfully shows the following:

I. JURISDICTION AND VENUE

ie This Court has subject matter jurisdiction to hear this complaint and to adjudicate
the claims stated herein under 28 U.S.C. § 1331 because Plaintiff asserts claims under 42 U.S.C.
§ 12101 et seg. (Americans With Disabilities Act, “ADA”).

2. Venue is appropriate because Defendant employed the Plaintiff in Madison
County, Arkansas and the events giving rise to this action occurred within this judicial district.

Il. PARTIES
2. Plaintiff who resides in Huntsville, Arkansas is an individual who performed

work for Defendant at its store in Huntsville, Arkansas.

 

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4. Wal-Mart Stores Arkansas, LLC (“Defendant”) is a company doing business in

the state of Arkansas.

Il. FACTS
5, Plaintiff first started working at Walmart Store No. 373 in Huntsville, Arkansas in
2016.
6. Prior to this employment, Plaintiff worked at Walmart through the Elizabeth

Richardson Center (ERC) which assists individuals with intellectual and learning disabilities.

7. In addition to her learning disability, Plaintiff suffers from Bell’s Palsy which
leaves her with no peripheral vision on her left side.

8. Plaintiff’s Bell’s Palsy is so severe that it prevents her from driving a motor
vehicle.

9, Defendant was aware of both of Plaintiff’s disabilities.

10. Despite her limitations, Plaintiff was an excellent employee and gave her best
efforts to the job both during her official employment and working for Defendant through the
ERC.

11. Upon officially working for Defendant, Plaintiff was subjected to derisive and
discriminatory comments and false write ups because of her disability.

12. In one example, when Plaintiff was working in the deli, comments such as “we
have one of these people” was negatively spoken about Plaintiff regarding her prior work for

Defendant through the ERC.

 

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13. Plaintiff was written up for not doing trash at the gas station. Plaintiff was tasked
with store maintenance, not the separate maintenance responsibilities at the gas station. Indeed,
the manager of the gas station at that time even tried to get the false write up taken away.

14. It became clear the Defendant no longer wanted to have a disabled employee
working for it.

15. Plaintiff was illegally terminated on March 9, 2018 due to her disabilities.

16. The stated reason for termination (not following the 10 foot rule) is not only false,
but it is discriminatory on its face.

17. It would be physically impossible for Plaintiff to always observe the 10-foot rule
for greeting customers as she cannot see customers on her left side.

18. This false and suspiciously subjective reason for termination is due to Plaintiff’s
disabilities.

19. At the time of termination, Plaintiff worked in maintenance and was not required
to observe the 10 foot rule as the majority of her duties consisted of cleaning.

20. Plaintiff was never previously warned about not following the so called 10-foot
tule.

21. The violation of the 10 foot rule is not an offensive that results in termination for
non disabled employees.

Bae Similarly situated non disabled employees have not been terminated for far more

egregious and/or number of offenses.

 

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IV. DISABILITY DISCRIMINATION

30. Plaintiff repeats and realleges all previous paragraphs of this Complaint as though
fully set forth herein.

31. | Defendant employs more than 501 employees.

32. Plaintiff has a disability within the meaning of the ADA.

33. Plaintiff is a qualified individual under the ADA.

35. Plaintiff ‘suffered an adverse employment action because of her disability.

36. Circumstantial or direct evidence exists for which a fact-finder to conclude
Defendant discriminated against Plaintiff on the basis of her disabilities.

37. Due to Defendant’s actions, Plaintiff has suffered, and continues to suffer,
damages including but not limited to lost wages, both past and future, the value of fringe
benefits, emotional pain, suffering, inconvenience, mental anguish, and loss of enjoyment of life.

38. Defendants’ actions were intentional, malicious, and committed with reckless
indifference to Plaintiff’s federally protected rights.
VI. FAILURE TO ACCOMMODATE

39, Plaintiff repeats and realleges all previous paragraphs of this Complaint as though
fully set forth herein.

40. Plaintiff informed Defendant of her disabilities.

41. Plaintiff requested an accommodation or Defendant knew Plaintiff needed an
accommodation despite the absence of a formal request for accommodation.

42. There was an accommodation available that would have been effective and would

not have posed an undue hardship to the employer.

 

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43. Defendant failed to provide an accommodation.
VI JURY DEMAND
44. _ Plaintiff exercises the right to a Jury.
VII. DAMAGES
WHEREFORE, Plaintiff respectfully requests that the above-named Defendant, be cited
to appear in this matter and that, after a jury trial by proof, she be awarded:
i. Back pay, including but not limited to lost wages, and other employment benefits;
ii. Front pay, including but not limited to wages, and other employment benefits;
iii. Judgment against Defendant for compensatory damages including emotional pain,
suffering, inconvenience, mental anguish, and loss of enjoyment of life;
iv. Actual damages;
v. Punitive damages;
vi. Injunctive or prospective relief;
vii. Judgment against Defendant for Plaintiffs reasonable attorneys’ and experts’ fees;
and costs of suit;
viii. Prejudgment and post-judgment interest as allowed by law; and
ix. Such other and further legal and/or equitable relief to which Plaintiff may be justly
entitled, as this court may deem proper.
WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that upon a trial

on the merits, Plaintiff be awarded the relief requested in this Complaint and such other and

further relief to which she may be justly entitled.

 

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Respectfully submitted,

 

 

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